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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION



    DARRYL BURGHARDT,                      Case No. CV 14-04677-JAK (DFM)

             Petitioner,                   JUDGMENT

                v.

    JEFFREY BEARD, et. al,

             Respondents.



         Pursuant to the Court’s Order Accepting the Report and
   Recommendation of United States Magistrate Judge,
         IT IS ADJUDGED that the Second Amended Petition is denied, and
   this action dismissed with prejudice.


    Date: September 23, 2021                ___________________________
                                            JOHN A. KRONSTADT
                                            United States District Judge
